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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on March 16, 2023

UNITED STATES OF AMERICA : CRIMINAL NO. 21-cr-134

V.
: VIOLATIONS:
MARK SAHADY, : 18 U.S.C. §§ 1512(c)(2), 2
: (Obstruction of an Official Proceeding)
Defendant. : 18 U.S.C. § 1752(a)(1)
: (Entering and Remaining in a Restricted
Building or Grounds)
18 U.S.C. § 1752(a)(2)
(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)
40 U.S.C. § 5104(e)(2)(D)
(Disorderly Conduct in
a Capitol Building)
40 U.S.C. § 5104(e)(2)(G)
(Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT
The Grand Jury charges that:
COUNT ONE

On or about January 6, 2021, within the District of Columbia and elsewhere, MARK
SAHADY attempted to, and did, corruptly obstruct, influence, and impede an official proceeding,
that is, a proceeding before Congress, specifically, Congress’s certification of the Electoral College
vote as set out in the Twelfth Amendment of the Constitution of the United States and 3 U.S.C. §§
15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)
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COUNT TWO
On or about January 6, 2021, in the District of Columbia, MARK SAHADY did knowingly
enter and remain in a restricted building and grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice President
was and would be temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT THREE

On or about January 6, 2021, in the District of Columbia, MARK SAHADY did
knowingly,.and with intent to impede and disrupt the orderly conduct of Government business and
official functions, engage in disorderly and disruptive conduct in and within such proximity to, a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President was and would be
temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly
conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT FOUR
On or about January 6, 2021, in the District of Columbia, MARK SAHADY willfully and
knowingly engaged in disorderly and disruptive conduct within the United States Capitol Grounds
and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb the orderly
conduct of a session of Congress and either House of Congress, and the orderly conduct in that
building of a hearing before or any deliberation of, a committee of Congress or either House of

Congress.
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(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT FIVE
On or about January 6, 2021, in the District of Columbia, MARK SAHADY willfully and
knowingly paraded, demonstrated, and picketed in any United States Capitol Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

Attorney of the eee States in Jf

and for the District of Columbia.
